             Case MDL No. 3084 Document 24 Filed 08/08/23 Page 1 of 5




                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION


 In re: Uber Technologies, Inc. Passenger
 Sexual Assault Litigation                                   MDL Docket No. 3084



JOINDER OF JCCP NO. 5188 PLAINTIFFS’ LEADERSHIP AND LIAISON COUNSEL
    IN MOTION OF PLAINTIFFS FOR COORDINATED OR CONSOLIDATED
                       PRETRIAL PROCEEDINGS


TO THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION AND ALL PARTIES AND

THEIR ATTORNEYS OF RECORD:

   PLEASE TAKE NOTICE that Court-appointed Plaintiffs’ Leadership in the California state

court cases hereby join the Motion for Transfer of Actions to the Northern District of California

Pursuant to 28 U.S.C. § 1407 for Coordinated or Consolidated Pretrial Proceedings.

      I.   OVERVIEW

   The four undersigned firms collectively represent many hundreds of Plaintiffs who have

brought sexual assault cases against Uber in California. We successfully petitioned the California

State Court Coordination panel to coordinate the cases and the cases were assigned to the

Honorable Ethan Schulman within Judicial Council Coordinated Proceeding (“JCCP”) No. 5188.

Judge Schulman appointed the undersigned four firms as co-leads and liaison counsel. Our four

firms had also previously been appointed as co-leads by the Honorable Andrew Cheng within the

Lyft JCCP, No. 5061, remarkably similar litigation involving sexual assaults perpetrated by Lyft

drivers. Both the Uber and Lyft litigations have presented similar organizational and discovery

challenges for the Court and for the parties.


                                                1
             Case MDL No. 3084 Document 24 Filed 08/08/23 Page 2 of 5




     II.   RELEVANT PROCEDURAL HISTORY OF JCCP NO. 5188

   In December 2021, the California Judicial Coordination Panel, Judge Cheng presiding,

ordered all the sexual assault cases against Uber coordinated within JCCP No. 5188. In February

2022, the Honorable Ethan P. Schulman was appointed as the Coordination Judge for JCCP No.

5188.

   Under the initial coordination order, the coordinated proceedings included cases in which the

assaults occurred outside of California. Subsequently, Uber moved to dismiss those cases where

the assault occurred outside of California on forum non conveniens grounds. Plaintiffs’ counsel

opposed Uber’s forum motion, on the grounds that almost all of the liability producing acts and

omissions occurred at Uber’s corporate headquarters and on the grounds that the goals of judicial

coordination would be best served by coordinating all discovery in one court. Judge Schulman

granted Uber’s motion on January 23, 2023, and ordered Plaintiffs’ counsel to dismiss those

cases by August 31, 2023. Some of those Plaintiffs whose cases were the subject of Judge

Schulman’s Forum Order have been refiling their complaints in multiple federal court districts,

but mostly within the Northern District of California.

    III.   BASIS FOR JOINING THE COORDINATION PETITION

   Our four firms represent hundreds of clients who were sexually assaulted outside of

California, in virtually every state in the country. Some of those clients have already re-filed

their cases in the Northern District of California and others will do so in due course. Attached as

Exhibit A is a list of the cases which have been filed (or re-filed) in the Northern District of

California thus far. This is just a subset of the cases which are subject to Judge Schulman’s Order



                                                  2
              Case MDL No. 3084 Document 24 Filed 08/08/23 Page 3 of 5




of Dismissal and who are represented by the undersigned. 1 We expect that Uber will move to

transfer these Northern District of California cases to the federal districts where the sexual

assaults occurred, as it has before. If the transfer motions are successful, there will be a large

number of federal court cases spanning multiple federal districts concerning largely identical

factual and legal issues. And, new cases continue to be filed as time goes on so that we anticipate

many more will be filed in the future. It is an unfortunate reality that acts of sexual assault by

Uber drivers on passengers occur multiple times a day, and in every state in the country.

    IV.      BENEFITS OF COORDINATION

    Under 28 U.S.C. § 1407, when deciding whether to coordinate or consolidate multiple

actions, the panel considers whether the actions share common issues of fact; if transfer would

serve the convenience of parties and witnesses; and if transfer would advance the just and

efficient conduct of the actions. The undersigned firms, who represent a substantial portion of the

plaintiffs who would be subject to any coordinated proceeding, agree with Movants that

coordination would serve those interests. We write to offer our perspective concerning the

judicial economy that would be served by coordination, and our preference for setting venue in

the Northern District of California.

                 A. Coordination Would Promote Judicial Economy

    Based on our extensive three-year experience as co-leads in the Lyft JCCP, and based on the

developments within the Uber JCCP over the past 18 months, we expect pretrial discovery will

involve the production of hundreds of thousands of documents and the depositions of many




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 Only one of the cases listed on Exhibit A, Jane Doe LSA 340 v. Uber Technologies, Inc., et al., Case No. 3:23-cv-
01165-AMO, was filed for the first time in the Northern District of California and not subject to Judge Schulman’s
Order.
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             Case MDL No. 3084 Document 24 Filed 08/08/23 Page 4 of 5




corporate and non-party witnesses. Pre-trial discovery of this scope and magnitude will require

developing case management orders and discovery protocols in order to efficiently manage the

litigation. It makes far more sense for one federal judge to coordinate this pretrial discovery, than

for the task to be repeated by judges in multiple federal districts throughout the country.

   Given that discovery within JCCP No. 5188 is already ongoing, it also makes sense to have

only one federal MDL judge coordinate with Judge Schulman with regard to the discovery which

is already underway. And ultimately, it makes sense to have a single federal judge who can

develop a bellwether trial selection process for the federal cases and to encourage global

mediation efforts with respect to all the cases.

               B. Northern California Is Most Convenient for All Parties

   The undersigned agree with Movants that the Northern District of California is the most

appropriate venue for the transfer. Uber is headquartered here, the present and former corporate

witnesses reside here, and the state court JCCP is in San Francisco. For these reasons, the

undersigned agree that transfer to the Northern District of California would be optimal.

     V.    CONCLUSION

   Based on the above, and the arguments provided in the moving papers, the undersigned

request this Panel transfer the non-resident Uber Passenger Sexual Assault Litigations to the

Northern District of California for coordination.



Dated: August 8, 2023                          Respectfully Submitted,


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                                                    4
Case MDL No. 3084 Document 24 Filed 08/08/23 Page 5 of 5




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